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                          UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               FLORENCE DIVISION

Laura and Michael Safley,                       )
                                                )     C.A. No.
                       Plaintiffs,              )
                                                )
vs.                                             )
                                                )                   COMPLAINT
                                                )             [JURY TRIAL DEMANDED]
Oceana Resorts, LLC,                            )
                                                )
                       Defendant.               )
                                                )
                                                )

       The Plaintiffs, Laura and Michael Safley, complaining of the Defendant herein, do

respectfully allege as follows:

                                              PARTIES

       1.      The Plaintiffs, Laura and Michael Safley, (hereinafter “Plaintiffs”) are residents

and citizens of Cleveland, North Carolina. At all times mentioned herein, Plaintiffs were lawfully

married and living together as husband and wife.

       2.      The Plaintiffs are informed and believe that Oceana Resorts, LLC (hereinafter

“Defendant”) is a corporation organized and existing by virtue of the laws of the State of South

Carolina and authorized to conduct business and conducting business at all times relevant hereto

within the County of Horry, State of South Carolina.

                                  JURISDICTION AND VENUE

       3.      Because the Plaintiffs are residents and citizens of the state of North Carolina and
Defendant is a resident and citizen of the state of South Carolina, jurisdiction is proper with this
Court based upon diversity jurisdiction pursuant to 28 U.S.C. § 1332.
       4.      Venue is proper in this judicial district and the Florence Division pursuant to
Local Rule 3.01 DSC because the acts giving rise to the action occurred substantially in this
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District and Division.
        5.      Plaintiffs have suffered damages which exceed $75,000.00, exclusive of interest
and costs.
                                               FACTS

        6.      On May 30, 2020, Plaintiffs drove from their home in Cleveland, North Carolina

to Myrtle Beach, South Carolina to stay at the The Patricia Grand, a resort property owned and

operated by Defendant, to celebrate their anniversary and to celebrate Plaintiff Laura Safley’s

birthday.

        7.      Upon arriving to The Patricia Grand, Plaintiffs parked their vehicle and walked

with their bags to the front entrance of the resort to check in. As Plaintiffs walked inside the

front entrance doors, Plaintiff Laura Safley stepped on an oily substance on the floor and fell

forward to the floor. As Plaintiff Laura Safley fell to the floor, she stuck out her right hand to

catch herself but was unable to prevent herself hitting the floor.

        8.      Upon information and belief, the place where Plaintiff Laura Safley fell was in

clear view of employees working for the Defendant including the check-in staff at the property.

        9.      After Plaintiff Laura Safley’s fall, two maintenance workers employed by

Defendant told Plaintiffs that the oily substance that caused Plaintiff Laura Safley’s fall was the

same oily substance that they had already cleaned up a short distance away from where she fell.

        10.     The Plaintiffs are informed and believe that employees of the Defendant made no

effort to ascertain the origin of the oily substance or to determine the full extent of the oily

substance or if there were other patches of oil in the vicinity, in other areas of the first floor

lobby. Defendant’s employees knew or should have known such oily residue is readily tracked

and spread in public areas traversed by the public and that there would likely be other dangerous

oily patches in the lobby area.


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       11.       The Plaintiffs are informed and believe that the oily substance was not readily

observable to a casual patron, but that it either was or should have been apparent to the agents,

servants and employees of the Defendant, who were already aware that the lobby floor had been

smeared with it and who, upon information and belief, were responsible for and charged with

maintenance and upkeep, including proper cleaning of the floor in the lobby area of the

establishment.

       12.       As a direct and proximate result of the dangerous and defective condition of the

Defendant’s premises, Plaintiff Laura Safley’s fall caused her to tear both her right rotator cuff

tendon and her right bicep tendon as well as suffer injuries to her neck, chest, and right knee.

       13.       As is evident by the admission of the maintenance employees immediately after

Plaintiff Laura Safley’s fall, the employees of the Defendant knew or should have known of the

dangerous condition in the lobby but failed to warn Plaintiffs, or block off the lobby floor until

the entire area could be properly cleaned.

                                FOR A FIRST CAUSE OF ACTION

                                             (Negligence)

       14.       The Plaintiffs re-allege and reiterate all of the allegations contained in paragraphs

1 through 13, as fully as if repeated herein verbatim.

       15.       The Plaintiffs are informed and believe that the Defendant owed a duty to

Plaintiffs to properly manage, maintain, and operate the subject premises for the safety and well-

being of its invitees and to maintain the premises in a reasonably safe condition for persons

rightfully upon the premises.




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       16.     The Plaintiffs are informed and believe that the Defendant was negligent, willful,

wanton, reckless and/or grossly negligent at the time and place herein above mentioned in the

following particulars:

               a.        In failing to properly clean and eradicate a known hazardous condition in
                         the lobby by blocking off and cleaning the entire lobby area as soon as the
                         existence of the initial oil spill became known;
               b.        In failing to keep the lobby in proper condition and free of concealed or
                         partially concealed liquids on the floor, a condition of which the
                         Defendant knew or should have known existed;
               b.        In failing to properly train and/or supervise their employees as to proper
                         inspection and maintenance procedures for the lobby so as to prevent
                         dangerous conditions from persisting upon the premises;
               c.        In failing to provide warnings or take any precautions whatsoever to alert
                         invitees rightfully upon the premises, including the Plaintiff, of dangerous
                         conditions in the area;
               d.        In failing to adequately correct the dangerous condition of the lobby;
               e.        In failing to use due care to ensure that the Plaintiffs, who were invitees,
                         were warned of the existence of, and not injured by latent and concealed
                         defects, dangerous conditions, or unreasonable risks, upon the premises
                         about which the Defendant knew, or had reason to know, and which the
                         Defendant created, and about which the Plaintiffs were unaware and had
                         no reason to be aware;
               f.        In failing to properly maintain and monitor the condition of the front
                         lobby;
               g.        In failing to provide safe and reasonably maintained premises for
                         customers and/or invitees;
               h.        In failing to act as a reasonably prudent property owner would have acted
                         under the circumstances then and there prevailing; and
               i.        In any such other particulars as may be ascertained through discovery
                         procedures undertaken pursuant to the Federal Rules of Civil Procedure.
       17.     As a direct and proximate result of the negligence, carelessness, willfulness,

recklessness, and/or gross negligence of the Defendant as alleged above, the Plaintiff Laura

Safley, has suffered serious injuries including tears to her right rotator cuff tendon and to her


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right bicep tendon which caused severe physical pain, scarring, disfigurement, emotional

suffering and mental distress, and which have required her to expend monies for medical care,

surgeries, rehabilitation, and other medical necessities. She has suffered and will continue to

suffer physical pain and mental anguish in the future and will be required to expend further

monies for future medical care. She has further suffered and will continue to suffer lost income

past, present, and future; a diminished quality of life, disability, scarring, disfigurement and loss

of enjoyment of life for which she is entitled to a judgment against the Defendant for actual and

punitive damages in an amount to be ascertained by the jury at the trial of this case.

                            FOR A SECOND CAUSE OF ACTION
                                   (Loss of Consortium)
       18.     Plaintiffs reallege and reiterate all of the allegations contained in paragraphs 1

through 17 as fully as if repeated herein verbatim.

       19.     As a direct and proximate result of the negligence, willfulness, wantonness,

recklessness, carelessness and gross negligence of the Defendant as set forth above, Plaintiff

Michael Safley has suffered and will in the future suffer loss of the aid, comfort, support, society

and consortium of his wife, Laura Safley, and is entitled to an award of actual damages in an

amount to be determined by the jury at the trial of this action.

       WHEREFORE, the Plaintiffs pray for judgment against the Defendant for actual and

punitive damages in an amount to be determined by the jury at the trial of this case, for the costs

and disbursements of this action, and for such other and further relief as this Honorable Court

deems just and proper.




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